                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT WINCHESTER

   UNITED STATES OF AMERICA                       )
                                                  )        Case No. 4:20-cr-03-01
   v.                                             )
                                                  )        Judge Travis R. McDonough
                                                  )
   ANTHONY KRAHN                                  )        Magistrate Judge Susan K. Lee
                                                  )


                                               ORDER



           Magistrate Judge Susan K. Lee filed a report and recommendation recommending that

  the Court: (1) grant Defendant’s motion to withdraw his not guilty plea as to Count Four of the

  six-count Indictment; (2) accept Defendant’s guilty plea as to Count Four; (3) adjudicate the

  Defendant guilty of Count Four; (4) defer a decision on whether to accept the plea agreement

  until sentencing; and (5) order that Defendant remain in custody until sentencing in this matter

  after his bond was revoked (Doc. 115). Neither party filed a timely objection to the report and

  recommendation. After reviewing the record, the Court agrees with Magistrate Judge Lee’s

  report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate

  judge’s report and recommendation (Doc. 115) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS

  as follows:

        1. Defendant’s motion to withdraw his not guilty plea as to Count Four of the Indictment is

           GRANTED;

        2. Defendant’s plea of guilty to Count Four is ACCEPTED;

        3. Defendant is hereby ADJUDGED guilty of Count Four;

        4. A decision on whether to accept the plea agreement is DEFERRED until sentencing; and



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     5. Defendant SHALL REMAIN in custody until sentencing in this matter which is

        scheduled to take place on February 12, 2021 at 9:00 a.m. [EASTERN] before the

        undersigned.

        SO ORDERED.


                                          /s/Travis R. McDonough
                                          TRAVIS R. MCDONOUGH
                                          UNITED STATES DISTRICT JUDGE




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